Case: 1:18-cr-00344-BYP Doc #: 1 Filed: 06/27/18 1 of 11. Page|D #: 1

N THE UNITED STATES DlSTRlCT COURT
FOR THE NORTHERN DISTRICT OF ’QI;II ` : §§
EASTERN DlVlSlON

   

UNITED STATES O'F AMERICA,

, @~‘§? `(» ' r .
CASE No. § c §§ -»f# t

)
)
Plaintiff, )
v. ) Title 18, Sections 1708 and 981(a)(l)(C)
)
)
)
)

 

United States Code; Title 28, Section

MoNrQUE WHEELER, 2461(@) Unir@d states C<>d@

Defendant.

COUNT l
(Theft or Receipt of Stolen l\/lail, in violation of 18 U.S.C. § 1708)
The Grand Jury charges:
l. Between in or about July 2017 and in or about Septernber 2017, in the Northern

District of Ohio, Eastern Division, Defendant MONIQUE WHEELER did knowingly steal, take,
and abstract from or out of a post office located at 2400 Orange Avenue, Cleveland, Ohio 44101
letters, postal cards, packages, bags, or mail, and did abstract, remove, and embezzle from any
such letters, postal cards, packages, bags, or mail, any article or thing contained therein,
including but not limited to the following:

a. An envelope containing a $25 Giant Eagle gift card ending in X061,
bearing pre-paid First Class postage, and entrusted to Defendant for delivery to J.R. of Canton,
Ohio;

b. An envelope containing a $25 Giant Eagle gift card ending in X715,
bearing pre-paid First Class postage, and entrusted to Defendant for delivery to D.D. of
Carrollton, Ohio;

c. An envelope containing two $25 Visa gift cards ending in X7405 and

Case: 1:18-cr-00344-BYP Doc #: 1 Filed: 06/27/18 2 of 11. Page|D #: 2

X6691, bearing pre-paid First Class postage, and entrusted to Defendant for delivery to S.C. of
Canfield, Ohio;
d. An envelope containing a $50 Visa gift card ending in X7459, bearing
pre-
paid First Class postage, and entrusted to Defendant for delivery to K.H. of LoXahatchee,
Florida;

e. An envelope containing a $50 Amazon gift card ending in X7381, bearing
pre-paid First Class postage, and entrusted to Defendant for delivery to C.O. of Estes Park,
Colorado;

f. An envelope containing a $5 0 Home Depot gift card ending in X4989,
bearing pre-paid First Class postage, and entrusted to Defendant for delivery to A.W. of
Nashville, Tennessee;

g. An envelope containing two $5 0 l\/lastercard gift cards ending in X3 960
and X1727, and one $100 GetGo gift card ending in in X355, bearing pre-paid First Class
postage, and entrusted to Defendant for delivery to E.P. of Parrna, Ohio;

h. An envelope containing a $75 Caraba’s gift card ending in X825, bearing
pre-paid First Class postage, and entrusted to Defendant for delivery to S.K. of Easley, South
Carolina;

i. An envelope containing three $100 Target gift cards ending in X034,
X042, and X026, bearing pre-paid First Class postage, and entrusted to Defendant for delivery to
T.C. of Norfolk, Virginia; z

j. An envelope containing a $50 Horne Depot gift card ending in X8809,

Case: 1:18-cr-00344-BYP Doc #: 1 Filed: 06/27/18 3 of 11. Page|D #: 3

bearing pre-paid First Class postage, and entrusted to Defendant for delivery to J.A. of Canton,
Ohio;

k. An envelope containing a $50 Mastercard gift card ending in X7673,
bearing pre-paid First Class postage, and entrusted to Defendant for delivery to D.M. of Lorain,
Ohio;

l. An envelope containing a $50 Dick’s Sporting Goods gift card ending in
X43 07, bearing pre-paid First Class postage, and entrusted to Defendant for delivery to J.K. of
Burlington, Kentucl<y;

rn. An envelope containing a $25 Visa gift card ending in X4898, bearing
pre-paid First Class postage, and entrusted to Defendant for delivery to S.D. of Lucie, Florida;

n. An envelope containing $ 14 in cash, bearing pre-paid First Class postage,
and entrusted to Defendant for delivery to R.B. of Cleveland Heights, Ohio;

o. An envelope containing a $100 Visa gift card ending in X8578, bearing
pre-paid First Class postage, and entrusted to Defendant for delivery to T.H. of Akron, Ohio;

p. An envelope containing a $ 100 Arnazon gift card ending in X8769,
bearing pre-paid First Class postage, and entrusted to Defendant for delivery to A.P. of PhoeniX,
- Arizona;

q. An envelope containing a $20 Target gift card ending in X0041, bearing
pre-paid First Class postage, and entrusted to Defendant for delivery to W. of Kent, Ohio;

r. An envelope containing a $100 Visa gift card ending in X3553, bearing
pre-paid First Class postage, and entrusted to Defendant for delivery to A.l\/l. of Willard, Ohio;

s. An envelope containing two $25 Visa gift cards ending in X0063 and

Case: 1:18-cr-00344-BYP Doc #: 1 Filed: 06/27/18 4 of 11. Page|D #: 4

X3812, bearing pre-paid First Class postage, and entrusted to Defendant for delivery to R.B. of
North Royalton, Ohio;

t. An envelope containing a $30 Visa gift card ending in X3935, bearing
pre-paid First Class postage, and entrusted to Defendant for delivery to V.G. of Maple Heights,
Ohio;

u. An envelope containing a $100 Amazon gift card ending in X6243,
bearing pre-paid First Class postage, and entrusted to Defendant for delivery to S.B. of Palm
City, Florida;

v. An envelope containing three $100 MasterCard gift cards ending in
X6705, X6706, and X9351, bearing pre-paid First Class postage, and entrusted to Defendant for
delivery to T.P. of San Jose, California;

W. An envelope containing a $100 Amazon gift card ending in X7048 and a
$50 Arnazon gift card ending in in X9471, bearing pre-paid First Class postage, and entrusted to
Defendant for delivery to M.B. of Medford, l\/lassachusetts;

X. An envelope containing a $25 Burlington Coat Factory gift card ending in
in Xl 17, bearing pre-paid First Class postage, and entrusted to Defendant for delivery to V.W. of
York, Pennsylvania;

y. An envelope containing a $100 Visa gift card ending in X1060, bearing
pre-paid First Class postage, and entrusted to Defendant for delivery to D.R. of Dogen, Utah; and

Z. An envelope containing a $50 Visa gift card ending in X5504, bearing
pre-paid First Class postage, and entrusted to Defendant for delivery to W.J. of Cleveland, Ohio.

All in violation of Title 18, United States Code, Section 1708.

Case: 1:18-cr-00344-BYP Doc #: 1 Filed: 06/27/18 5 of 11. Page|D #: 5

FORFEITURE
The Grand Jury further charges:

2. The allegations of Count l are hereby realleged and incorporated herein by
reference for the purpose of alleging forfeiture pursuant to Title 18, United States Code, Section
981(a)(1)(C) and Title 28, United States Code, Section 2461(0). As a result of the foregoing
offenses, Defendant MONIQUE WHEELER shall forfeit the following to the United States all
property, real and personal, which constitutes or is derived from proceeds traceable to the

violations charged in Count 1; including, but not limited to the following gift cards seized from

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Defendant:
Type Serial Number
Aldi X23 8
Aldi X7 47
Aldi X336
Aldi X4-162
Aldi X5 -021
Amazon X8356
Amazon XS 771
Amazon X6647
Amazon ' X877l
Amazon X5 5 78
Amazon X93 74
Amazon X6002
Amazon X9092
Amazon X3 5 63
Amazon X025 0
Amazon X8684
Amazon X3 764
Amazon X3398
Amazon X9020
Amazon X73 8 1
Amazon X2530
Amazon X906 l
Amazon X9166
Amazon X4524

 

 

 

 

Case: 1:18-cr-00344-BYP Doc #: 1 Filed: 06/27/18 6 of 11. Page|D #: 6

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Type Serial Number
Amazon X2727
Amazon X0674
Amazon X3528
Amazon X5022

Applebee’ s X9-101
Bath and Body Works X3-185
Bed Bath and Beyond X2-1731
Bed Bath and Beyond X4959
Bed Bath and Beyond X7438
Bed Bath and Beyond Xl775
Bed Bath and Beyond Xl646
Bed Bath and Beyond X2254

Bed Bath Beyond X1086
Bed Bath Beyond Xl935
Bed Bath Beyond ' X3487
Best Buy X2562
Best Buy X2095
Best Buy X6331
Best Buy X581 8
Best Buy X2160
Best Buy X5614
Best Buy , X9443
Best Buy X3333
Best Buy X3 796
Bloomin Brands X6842
Bloomin Brands X2-813

Bob Evans X7765

Bob Evans X1577

Bob Evans X1106

Bob Evans X7662

Bob Evans X7 621

Bob Evans X7947

Boston Market X1206
Brinker X7242
Brinker X4805
Brinker X555 7
Buffalo Wild Wings X9017
Buffalo WildWings X5606
Buffalo Wild Wings Xl 822
Buffalo Wild Wings X605l
Buffalo Wild Wings X4488
Carrabba's X4-999

 

 

Case: 1:18-cr-00344-BYP Doc #: 1 Filed: 06/27/18 7 of 11. Page|D #: 7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Type Serial Number
Carrabba's X5-140
Carrabba's X5~157
Carrabba'S Xl -825

Cheesecake Factory X1685
Cheesecake Factory X2699
Chick Fil A X5482
Chick Fil A X5448
Chick Fil A X8021
ChickFilA X8 848
Chici<FiiA X3376
Chicl<FilA Xl 5 7 2
ChickFilA X6445
Chipotle X6007
Chipotle Xl 5 19
Cinemark X8577
Cracker Barrel X8~283
Darden X8792
Darden X37 l 5
Darden X9613
Darden X28 85
Darden X4544
Darden X8802
Darden X9204
Darden X9093
Darden w/Fandango X73 99
Dave's Marl<:ets Xl -5 76
Dick's X25 87

Dicl<'s X972l
Disney _ X0644

DQ X65 85

DQ X4233

DSW f X8-183

DSW X4-249
Fandango X1-065
Fandango Xl -073

Fandango w/Darden X7-1 84
Five Guys X3-405
Footlocker X3067

y Forever 21 X8901
Game Stop X2-5l l
Game Stop X0-082
Game Stop X5-440

 

 

Case: 1:18-cr-00344-BYP Doc #: 1 Filed: 06/27/18 8 of 11. Page|D #: 8

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Type Serial Numb er
Giant Eagle X4~06l
Home Depot X7~410
Home Depot X7~4 l 5
Home Depot X7-414
Home Depot X7-410
Home Depot X7-412
Home Depot X7-415
Home Depot X7-415

Home Depot y X7-413 '

Home Depot X7-4l2
Honeybaked X4262
Hyatt X2-946
Hyatt X2-97 9
Hyatt X2-87 0
Hyatt X2-904
Hyatt X2~920
Hyatt X2-912
Hyatt X2-93 8
Hyatt X2-896
iTunes X1670
iTunes X1974
iTunes X95 52
iTunes X1979
Kohl’s X8-341
Kohl’s X5 -5 91
Kohl’s X3-03 7
Kohl’s X1-098
Kohl’s X0323
Kohl’s X2703
Kohl’s X4134
Kohl’s X8-122
Kohl’s X0-224
Longhorn X4647
Lowe's X0-854
Lowe's X0~606
Lowe'S X1-812
Lowe's X4- l 5 5
Lowe's X5-109
Lowe's X9-403
Macy's X6-242
Marshalls X3 -932
MasterCard X7597

 

 

CaSe: 1218-CI’-00344-BYP DOC #Z l Filed: 06/27/18 9 Of 11. Page|D #Z 9

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Type Serial Number
MasterCard X623 7
MasterCard Xl 652
MasterCard X95 64

MasterCard Vanilla X4069
McDonaldS X8877
McDonalds X7904
McDonalds X2812
l\/IcDonalds X23 71

Menards X251 1
New Balance No number
Nike X9-35 3
Nike X7-172
Olive Garden X13 75
Olive Garden 7 X9070
Olive Garden X3 722
Olive Garden X2398
Olive Garden X4627
Olive Garden X3 5 5 7
Olive Garden X45 08
Olive Garden X05 75
Olive Garden X-2444
Outbacl< X8-805
Outbacl< X3-677
Outback X9-604
Outback X5 -847
Outback X3 -669
Outback X0-670
Outback X7-8 75
Outback X2-746
Outback X6-074
Outback X2- l 24
Outbacl< X7-6 77
Panera X3-621
Panera X6-107
Panera X9-624
Panera X3-5 60
Panera X8-406
Panera X6-474
PetSmart X0-988

Pinl< Xl ~410
Red Lobster X25 54
Red Lobster X7537

 

`CaSe: 1218-CI’-00344-BYP DOC #Z l Filed: 06/27/18 10 Of 11. Page|D #Z 10

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Type Serial Numb er
Red Lobster X9573
Red Lob ster X0568
Red Lobster X8187

Re gal Cinema X8-832
Regal Cinema X8-834
Regal Cinema X8-83 8
Regal Cinema X9-797
Re gal Cinema XO-l 86

Sears X9984

Sephora X707 2
Speedway X7-991
Speedway X7~983
Starbucks X823 6
Starbucks X595 7
Steak and Shake X2751
Steak N Shake X0183
Steak N Shake X2827
Subway X6442
Subway X6434
Subway X0912
Subway Xl499

Target X3-878

Target Xl -675

Target X8-146

Target X5-3 67

Target X0-742

Target X0-973

Target X4-779

Target X7-936

Target X8-896

Target X6-487

Target X2-286

Target X0-792

Target X4-840

Target X7-547

Target X6-3 65

Target X4-001

TeXas Roadhouse X3~703
TJ-Maxx X8-084
TJ-MaXX X5-985
TJ~MaXX X1-l44

Ulta X5 844

 

 

10

 

CaSe: 1218-CI’-00344-BYP DOC #Z l Filed: 06/27/18 11 Of 11. Page|D #Z 11

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Type Serial Number

Ulta X3 072
Ulta X705 6
Victoria's Secret X8-937
Visa X3 700
Visa X5210
Visa X3 507
Visa X8010
Visa ~ X1871
Visa X9168
Visa X85 75
Visa X5 7 97
Visa X9347
Visa X7236
Visa Debit X28 l 3
Visa Debit X4828
Visa Debit X4898
Walmart X5 982
Walmart X1632
Walmart Xl 3 16

Wayfair XMJMP
Wayfair XG6GT

XboX XVTCM
XboX X7G8Y

XboX XDMKZ

A TRUE BILL.

Original documen -- Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.

11

